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 1                       IN THE UNITED STATES BANKRUPTCY COURT FOR
                                   THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                      CASE NO. 18-05896-ESL7
 4   JOSE LUIS BIRRIEL RIVERA                    Chapter 7
     LYDIA IRIS OCASIO BURGOS
 5
                     Debtor(s)                   ADVERSARY NUMBER: 18-00140-ESL
 6
     JOSE LUIS BIRRIEL RIVERA
 7   LYDIA IRIS OCASIO BURGOS

 8
                    Plaintiff(s)
 9
     FIRST BANK PUERTO RICO                         FILED & ENTERED ON DEC/10/2018
10   WIGBERTO LUGO MENDER
                    Defendant(s)
11

12
              ORDER AND NOTICE PRELIMINARY PRETRIAL AND SCHEDULING CONFERENCE
13
           This adversary proceeding/contested matter is set for a preliminary
14
     pretrial and scheduling conference under Federal Rule of Bankruptcy Procedure
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     7016(b) (incorporating Federal Rule of Civil Procedure 16) and LBR 7016-1, on
16
     April 26, 2019 at 9:30 AM at Courtroom 2 at Jose V. Toledo Fed. Bldg. & U.S.
17
     Courthouse, San Juan, Puerto Rico.
18
           Unless excused for good cause, each party shall be represented at the
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     pretrial conference by counsel who is to conduct the trial on behalf of said
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     party, and who shall be thoroughly familiar with the facts and applicable law
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     of the case.
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           Counsel for each party and/or each pro se party are hereby ordered to
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     make the disclosures required by Rule 26(a) of the Federal Rule of Civil
24
     Procedure, incorporated by Rule 7026, Federal Rules of Bankruptcy Procedure,
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     fourteen (14) days prior to the conference.
26
           Counsel for each party are further ordered to confer with opposing counsel
27
     and prepare and file with the court seven (7) days prior to the conference, a
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     "JOINT PRETRIAL REPORT" containing the following:
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 1            1. The basis for jurisdiction or objection to jurisdiction.

 2            2. A statement of admitted or uncontested facts.

 3            3. A brief statement of contested facts.

 4            4. A statement of contested legal issues.

 5            5. The time needed to complete discovery.

 6            6. The need for amendment of pleadings and joinder of additional

 7            parties.

 8            7. The time for filing of dispositive motions.

 9            8. The plaintiff shall state the time needed to present his case-in-

10            chief, including reservation of time for rebuttal.

11            9. The defendant and each additional party shall state the time needed

12            to   present   his   case-in-chief,   including   reservation   of time   for

13            rebuttal.

14        Failure to comply with the requirements of this order may result in the

15   imposition of sanctions, including, but not limited to the dismissal of the

16   complaint, assessment of costs including attorneys' fees, or other penalties.

17        IT IS SO ORDERED.

18        In San Juan, Puerto Rico, this 10 day of December, 2018.

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